B1 (Official Form 1)(12/11)
                                                  United States Bankruptcy Court
                                                          Northern District of Alabama                                                                             Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Orion Tecnology, Inc.


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                           Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  XX-XXXXXXX
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  7000 Quest Circle NW
  Huntsville, AL
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         35806
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  Madison
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):
  305 Church Street
  STE 717
                                                                                           ZIP Code                                                                                        ZIP Code
  Huntsville, AL
                                                                                         35801
Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                               (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                            Health Care Business                                    Chapter 7
     See Exhibit D on page 2 of this form.                          Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                            Chapter 9
     Corporation (includes LLC and LLP)                             in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                            Chapter 11
     Partnership                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)                Commodity Broker
                                                                    Clearing Bank
                                                                    Other                                                                               Nature of Debts
                   Chapter 15 Debtors
                                                                           Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                          (Check box, if applicable)                       Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                       under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,343,300 (amount subject to adjustment on 4/01/13 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information          *** Tazewell T. Shepard ***                                                                               THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000

Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million

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B1 (Official Form 1)(12/11)                                                                                                                                                Page 2
                                                                                     Name of Debtor(s):
Voluntary Petition                                                                     Orion Tecnology, Inc.
(This page must be completed and filed in every case)
                                All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                     Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                             Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                            Relationship:                                  Judge:

                                      Exhibit A                                                                                Exhibit B
                                                                                        (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,               I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                       have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934               12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                          under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).

       Exhibit A is attached and made a part of this petition.                         X
                                                                                           Signature of Attorney for Debtor(s)                     (Date)



                                                                               Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                          Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                     Information Regarding the Debtor - Venue
                                                               (Check any applicable box)
                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                   days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                   this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                   proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                   sought in this District.
                                        Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                (Check all applicable boxes)
                   Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                      (Name of landlord that obtained judgment)




                                      (Address of landlord)

                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                   the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                   Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                   after the filing of the petition.
                   Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).

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B1 (Official Form 1)(12/11)                                                                                                                                              Page 3
                                                                                           Name of Debtor(s):
Voluntary Petition                                                                           Orion Tecnology, Inc.
(This page must be completed and filed in every case)
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                                Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this                I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                           is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and            proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                             (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.

                                                                                           X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor

 X                                                                                             Printed Name of Foreign Representative
     Signature of Joint Debtor
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer

                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Tazewell T. Shepard
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Tazewell T. Shepard                                                                      debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Sparkman, Shepard & Morris, P.C.
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      P.O. Box 19045
      Huntsville, AL 35804                                                                     Social-Security number (If the bankrutpcy petition preparer is not
                                                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                               Email: taze@tshepard.com
      256-512-9924 Fax: 256-512-9837
     Telephone Number
     September 20, 2012
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X    /s/ Earl Hubbard
     Signature of Authorized Individual
      Earl Hubbard                                                                             If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
      President / CEO                                                                          A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.
      September 20, 2012
     Date

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B4 (Official Form 4) (12/07)
                                                          United States Bankruptcy Court
                                                                Northern District of Alabama
 In re     Orion Tecnology, Inc.                                                                           Case No.
                                                                             Debtor(s)                     Chapter        11


                         LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                     Following is the list of the debtor's creditors holding the 20 largest unsecured claims. The list is prepared in
           accordance with Fed. R. Bankr. P. 1007(d) for filing in this chapter 11 [or chapter 9] case. The list does not include (1)
           persons who come within the definition of "insider" set forth in 11 U.S.C. § 101, or (2) secured creditors unless the value of
           the collateral is such that the unsecured deficiency places the creditor among the holders of the 20 largest unsecured claims.
           If a minor child is one of the creditors holding the 20 largest unsecured claims, state the child's initials and the name and
           address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
           name. See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

                   (1)                                             (2)                            (3)                     (4)                   (5)

Name of creditor and complete             Name, telephone number and complete            Nature of claim (trade   Indicate if claim is   Amount of claim
mailing address including zip             mailing address, including zip code, of        debt, bank loan,         contingent,            [if secured, also
code                                      employee, agent, or department of creditor     government contract,     unliquidated,          state value of
                                          familiar with claim who may be contacted       etc.)                    disputed, or           security]
                                                                                                                  subject to setoff
Aerotek Professional                      Aerotek Professional                           Unsecured                                       7,850.00
3689 Collection Center Drive              3689 Collection Center Drive
Chicago, IL 60693                         Chicago, IL 60693
Alaska Structures                         Alaska Structures                              Unsecured                                       251,464.00
9024 Vanguard Drive,Suite                 9024 Vanguard Drive,Suite 101
101                                       Anchorage, AK 99507
Anchorage, AK 99507
American Express                          American Express                                                                               18,756.18
PO Box 650448                             PO Box 650448
Dallas, TX 75265                          Dallas, TX 75265
Ametek                                    Ametek                                                                                         40,634.00
PO Box 8500                               PO Box 8500
Philadelphia, PA 19178                    Philadelphia, PA 19178
Anglin,Reichmann,Snellgrov                Anglin,Reichmann,Snellgrove &                                                                  58,440.85
e & Armstrong                             Armstrong
305 Quality Circle                        305 Quality Circle
Huntsville, AL 35806                      Huntsville, AL 35806
Caston & Long                             Caston & Long                                                                                  16,808.00
1101 19th Ave.                            1101 19th Ave.
Birmingham, AL 35215                      Birmingham, AL 35215
Cohen Mohr LLP                            Cohen Mohr LLP                                 Unsecured                                       21,466.81
1055 Thomas Jefferson St,                 1055 Thomas Jefferson St, NW Suite
NW Suite 504                              504
Washington, DC 20007                      Washington, DC 20007
Deployed Resources                        Deployed Resources                             Unsecured                                       207,880.00
1729 North George Street                  1729 North George Street
Rome, NY 13442                            Rome, NY 13442
Donna Shands                              Donna Shands                                   Unsecured                                       322,279.75
1220 Jardin Drive                         1220 Jardin Drive
Naples, FL 34104                          Naples, FL 34104
Federal Staffing Resources,               Federal Staffing Resources, LLC                Unsecured                                       24,810.00
LLC                                       716 Giddings Ave. Ste 42
716 Giddings Ave. Ste 42                  Annapolis, MD 21401
Annapolis, MD 21401
Flat Iron Capital                         Flat Iron Capital                              Unsecured                                       9,904.00
1700 Lincoln Street                       1700 Lincoln Street
Denver, CO 80203                          Denver, CO 80203

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B4 (Official Form 4) (12/07) - Cont.
In re      Orion Tecnology, Inc.                                                                       Case No.
                                                         Debtor(s)

                         LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                                         (Continuation Sheet)

                   (1)                                             (2)                                (3)                   (4)                   (5)

Name of creditor and complete             Name, telephone number and complete              Nature of claim (trade   Indicate if claim is   Amount of claim
mailing address including zip             mailing address, including zip code, of          debt, bank loan,         contingent,            [if secured, also
code                                      employee, agent, or department of creditor       government contract,     unliquidated,          state value of
                                          familiar with claim who may be contacted         etc.)                    disputed, or           security]
                                                                                                                    subject to setoff
General Logistics                         General Logistics                                Unsecured                                       410,347.71
326 Cloudes Mill Dr.                      326 Cloudes Mill Dr.
Alexandria, VA 22304                      Alexandria, VA 22304
Lloyd,Gray,Whitehead &                    Lloyd,Gray,Whitehead & Monroe, P.C.                                                              14,278.42
Monroe, P.C.                              2501
2501                                      20th Place South, Ste. 300
20th Place South, Ste. 300                Birmingham, AL 35223
Birmingham, AL 35223
LTS Ft. Sill Combat LS                    LTS Ft. Sill Combat LS                                                                           8,783.25
305 Church St Suite 715                   305 Church St Suite 715
Huntsville, AL 35801                      Huntsville, AL 35801
ND5                                       ND5                                                                                              78,838.59

The Zenith                                The Zenith                                       Unsecured                                       46,802.00
4415 Collections Center                   4415 Collections Center Drive
Drive                                     Chicago, IL 60693
Chicago, IL 60693
Trustaff                                  Trustaff                                         Unsecured                                       163,086.47
4270 Glendale-Milford Road                4270 Glendale-Milford Road
Cincinnati, OH 45242                      Cincinnati, OH 45242
Venable LLP                               Venable LLP                                      Unsecured                                       131,896.90
PO Box 62727                              PO Box 62727
Baltimore, MD 21264                       Baltimore, MD 21264
Wells Fargo                               Wells Fargo                                      Unsecured                                       20,717.63
Business Direct Operations                Business Direct Operations
PO Box 348750                             PO Box 348750
Sacramento, CA 95834                      Sacramento, CA 95834
Wilmer & Lee                              Wilmer & Lee                                                                                     30,670.36
PO Box 2168                               PO Box 2168
Huntsville, AL 35804                      Huntsville, AL 35804
                                       DECLARATION UNDER PENALTY OF PERJURY
                                     ON BEHALF OF A CORPORATION OR PARTNERSHIP
                     I, the President / CEO of the corporation named as the debtor in this case, declare under penalty of perjury
           that I have read the foregoing list and that it is true and correct to the best of my information and belief.


Date September 20, 2012                                                Signature   /s/ Earl Hubbard
                                                                                   Earl Hubbard
                                                                                   President / CEO

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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B6 Summary (Official Form 6 - Summary) (12/07)


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                                                           United States Bankruptcy Court
                                                                 Northern District of Alabama
 In re          Orion Tecnology, Inc.                                                                      Case No.
                                                                                                    ,
                                                                                   Debtor
                                                                                                           Chapter                        11




                                                               SUMMARY OF SCHEDULES
    Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
    B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
    Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
    also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




             NAME OF SCHEDULE                         ATTACHED           NO. OF        ASSETS                 LIABILITIES                  OTHER
                                                       (YES/NO)          SHEETS

A - Real Property                                         Yes             1                         0.00


B - Personal Property                                     Yes             3                  41,300.00


C - Property Claimed as Exempt                            No              0


D - Creditors Holding Secured Claims                      Yes             2                                      1,170,184.00


E - Creditors Holding Unsecured                           Yes             5                                           1,700.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                           Yes             10                                     1,934,285.27
    Nonpriority Claims

G - Executory Contracts and                               Yes             1
   Unexpired Leases

H - Codebtors                                             Yes             1


I - Current Income of Individual                          No              0                                                                        N/A
    Debtor(s)

J - Current Expenditures of Individual                    No              0                                                                        N/A
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                23


                                                                    Total Assets             41,300.00


                                                                                     Total Liabilities           3,106,169.27




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Form 6 - Statistical Summary (12/07)


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                                                           United States Bankruptcy Court
                                                                 Northern District of Alabama
 In re           Orion Tecnology, Inc.                                                                       Case No.
                                                                                                         ,
                                                                                       Debtor
                                                                                                             Chapter                     11


              STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
         a case under chapter 7, 11 or 13, you must report all information requested below.

                  Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                  report any information here.

         This information is for statistical purposes only under 28 U.S.C. § 159.
         Summarize the following types of liabilities, as reported in the Schedules, and total them.


             Type of Liability                                                                  Amount

             Domestic Support Obligations (from Schedule E)

             Taxes and Certain Other Debts Owed to Governmental Units
             (from Schedule E)
             Claims for Death or Personal Injury While Debtor Was Intoxicated
             (from Schedule E) (whether disputed or undisputed)

             Student Loan Obligations (from Schedule F)

             Domestic Support, Separation Agreement, and Divorce Decree
             Obligations Not Reported on Schedule E
             Obligations to Pension or Profit-Sharing, and Other Similar Obligations
             (from Schedule F)

                                                                            TOTAL


             State the following:

             Average Income (from Schedule I, Line 16)


             Average Expenses (from Schedule J, Line 18)

             Current Monthly Income (from Form 22A Line 12; OR,
             Form 22B Line 11; OR, Form 22C Line 20 )


             State the following:
             1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                 column
             2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                 column
             3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                 PRIORITY, IF ANY" column

             4. Total from Schedule F


             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)




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B6A (Official Form 6A) (12/07)


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 In re         Orion Tecnology, Inc.                                                                      Case No.
                                                                                                 ,
                                                                                   Debtor

                                                         SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                 Husband,    Current Value of
                                                                         Nature of Debtor's       Wife,     Debtor's Interest in            Amount of
               Description and Location of Property                      Interest in Property     Joint, or  Property, without             Secured Claim
                                                                                                Community Deducting  any Secured
                                                                                                            Claim or Exemption




                      None




                                                                                                 Sub-Total >                  0.00         (Total of this page)

                                                                                                      Total >                 0.00
  0    continuation sheets attached to the Schedule of Real Property
                                                                                                 (Report also on Summary of Schedules)

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 In re         Orion Tecnology, Inc.                                                                             Case No.
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

1.    Cash on hand                                    X

2.    Checking, savings or other financial                BB&T Business Account                                             -                         39,300.00
      accounts, certificates of deposit, or
      shares in banks, savings and loan,
      thrift, building and loan, and
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                   X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                X
      including audio, video, and
      computer equipment.

5.    Books, pictures and other art                   X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                X

7.    Furs and jewelry.                               X

8.    Firearms and sports, photographic,              X
      and other hobby equipment.

9.    Interests in insurance policies.                X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                  X
    issuer.




                                                                                                                            Sub-Total >             39,300.00
                                                                                                                (Total of this page)

  2    continuation sheets attached to the Schedule of Personal Property


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 In re         Orion Tecnology, Inc.                                                                             Case No.
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

11. Interests in an education IRA as                  X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated               X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                X
    ventures. Itemize.

15. Government and corporate bonds                    X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                  Debtor is compiling a list and and will add same by               -                         Unknown
                                                          amendment to this schedule.

17. Alimony, maintenance, support, and                X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life               X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                      X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                 X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

                                                                                                                            Sub-Total >                   0.00
                                                                                                                (Total of this page)

Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

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 In re         Orion Tecnology, Inc.                                                                             Case No.
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

22. Patents, copyrights, and other                    X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                   X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations              X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                X
    other vehicles and accessories.

26. Boats, motors, and accessories.                   X

27. Aircraft and accessories.                         X

28. Office equipment, furnishings, and                X
    supplies.

29. Machinery, fixtures, equipment, and               X
    supplies used in business.

30. Inventory.                                            Computers, Desks, Office Supplies, Furniture, etc.                 -                          2,000.00

31. Animals.                                          X

32. Crops - growing or harvested. Give                X
    particulars.

33. Farming equipment and                             X
    implements.

34. Farm supplies, chemicals, and feed.               X

35. Other personal property of any kind               X
    not already listed. Itemize.




                                                                                                                            Sub-Total >               2,000.00
                                                                                                                (Total of this page)
                                                                                                                                 Total >             41,300.00
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                        (Report also on Summary of Schedules)

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  In re         Orion Tecnology, Inc.                                                                                     Case No.
                                                                                                            ,
                                                                                             Debtor

                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                        C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
             CREDITOR'S NAME                            O                                                             O    N   I
                                                        D   H         DATE CLAIM WAS INCURRED,                        N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                             T    I   P       WITHOUT               UNSECURED
           INCLUDING ZIP CODE,                          B   W             NATURE OF LIEN, AND                         I    Q   U                             PORTION, IF
                                                        T   J           DESCRIPTION AND VALUE                         N    U   T
                                                                                                                                      DEDUCTING
          AND ACCOUNT NUMBER                            O                                                             G    I   E       VALUE OF                 ANY
            (See instructions above.)
                                                            C                  OF PROPERTY
                                                        R
                                                                            SUBJECT TO LIEN
                                                                                                                      E    D   D     COLLATERAL
                                                                                                                      N    A
                                                                                                                      T    T
Account No.                                                     Loan to company secured by shares of                       E
                                                                stock (and attendant voting rightd)                        D

Barbara Webster
4989 Seven Pine Circle
Huntsville, AL 35816
                                                            -

                                                                Value $                               Unknown                             50,000.00               Unknown
Account No.                                                     Loan to company secured by shares of
                                                                stock (and attendant voting rightd)
Daniel Hubbard
PO Box 92154
Atlanta, GA 30314
                                                            -

                                                                Value $                               Unknown                           100,000.00                Unknown
Account No.                                                     Loan to company secured by shares of
                                                                stock (and attendant voting rightd)
Douglas Love
1850 Lancaster Drive
Conyers, GA 30013
                                                            -

                                                                Value $                               Unknown                           100,000.00                Unknown
Account No.                                                     Security Interest in Accounts Receivable

Facteon, Inc.
700 Galleria Pkwy.
Suite 4440
                                                            -
Atlanta, GA 30339

                                                                Value $                               Unknown                             Unknown                 Unknown
                                                                                                                   Subtotal
 1
_____ continuation sheets attached                                                                                                      250,000.00                        0.00
                                                                                                         (Total of this page)




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  In re         Orion Tecnology, Inc.                                                                                    Case No.
                                                                                                            ,
                                                                                             Debtor


                                 SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                 (Continuation Sheet)

                                                        C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
            CREDITOR'S NAME                             O                                                            O    N   I
                                                        D   H             DATE CLAIM WAS INCURRED,                   N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                            T    I   P       WITHOUT         UNSECURED
                                                            W               NATURE OF LIEN, AND                                                       PORTION, IF
           INCLUDING ZIP CODE,                          B
                                                                           DESCRIPTION AND VALUE
                                                                                                                     I    Q   U
                                                                                                                                     DEDUCTING
                                                        T   J                                                        N    U   T                          ANY
          AND ACCOUNT NUMBER                            O   C                   OF PROPERTY                          G    I   E       VALUE OF
             (See instructions.)                        R
                                                                               SUBJECT TO LIEN                       E    D   D     COLLATERAL
                                                                                                                     N    A
                                                                                                                     T    T
Account No.                                                     Loan to company secured by shares of                      E
                                                                stock (and attendant voting rightd)                       D

Ron Hale
8954 Brigadoon Drive
Athens, AL 35611
                                                            -

                                                                Value $                               Unknown                         920,184.00           Unknown
Account No.




                                                                Value $
Account No.




                                                                Value $
Account No.




                                                                Value $
Account No.




                                                                Value $
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Sheet _____    1
            of _____  continuation sheets attached to                                                             Subtotal
                                                                                                                                      920,184.00                 0.00
Schedule of Creditors Holding Secured Claims                                                             (Total of this page)
                                                                                                                     Total          1,170,184.00                 0.00
                                                                                           (Report on Summary of Schedules)


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 In re         Orion Tecnology, Inc.                                                                                              Case No.
                                                                                                                     ,
                                                                                               Debtor

                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
    account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
    column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of Certain Liabilities and Related Data.
          Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
    of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
    trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
    representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
        Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
    delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and certain other debts owed to governmental units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to maintain the capital of an insured depository institution
       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
    Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

         Claims for death or personal injury while debtor was intoxicated
       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
    another substance. 11 U.S.C. § 507(a)(10).




    * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                            4         continuation sheets attached

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  In re         Orion Tecnology, Inc.                                                                                   Case No.
                                                                                                           ,
                                                                                             Debtor

                   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                 (Continuation Sheet)
                                                                                                                    Taxes and Certain Other Debts
                                                                                                                     Owed to Governmental Units
                                                                                                                                 TYPE OF PRIORITY
                                                        C   Husband, Wife, Joint, or Community                      C    U   D
            CREDITOR'S NAME,                            O                                                           O    N   I                      AMOUNT NOT
                                                        D                                                           N    L   S                      ENTITLED TO
          AND MAILING ADDRESS                           E   H         DATE CLAIM WAS INCURRED                       T    I   P      AMOUNT          PRIORITY, IF ANY
           INCLUDING ZIP CODE,                          B   W
                                                                    AND CONSIDERATION FOR CLAIM                     I    Q   U
                                                                                                                                    OF CLAIM
          AND ACCOUNT NUMBER                            T   J                                                       N    U   T                                AMOUNT
                                                        O                                                           G    I   E                             ENTITLED TO
             (See instructions.)                        R   C                                                       E    D   D
                                                                                                                    N    A
                                                                                                                                                              PRIORITY
                                                                                                                    T    T
Account No.                                                     Estimated Taxes                                          E
                                                                                                                         D

Alabama Dept. of Revenue
50 North Ripley Street                                                                                                                              0.00
Montgomery, AL 36132
                                                            -                                                            X

                                                                                                                                          100.00               100.00
Account No.                                                     Estimated Taxes

Arizona Department of Revenue
1600 W. Monre                                                                                                                                       0.00
Phoenix, AZ 85007
                                                            -                                                            X

                                                                                                                                          100.00               100.00
Account No.                                                     Estimated Taxes

Colorado Dept. of Revenue
1325 Sherman St.                                                                                                                                    0.00
Denver, CO 80261
                                                            -                                                            X

                                                                                                                                          100.00               100.00
Account No.                                                     Estimated Taxes

Georgia Department of Revenue
4125 Welcome All Road                                                                                                                               0.00
Atlanta, GA 30349
                                                            -                                                            X

                                                                                                                                          100.00               100.00
Account No.                                                     Estimated Taxes

Hawaii Dept. of Revenue
P.O. Box 259                                                                                                                                        0.00
Honolulu, HI 96809
                                                            -                                                            X

                                                                                                                                          100.00               100.00
       1
Sheet _____    4
            of _____  continuation sheets attached to                                                            Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                 (Total of this page)              500.00               500.00




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  In re         Orion Tecnology, Inc.                                                                                   Case No.
                                                                                                           ,
                                                                                             Debtor

                   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                 (Continuation Sheet)
                                                                                                                    Taxes and Certain Other Debts
                                                                                                                     Owed to Governmental Units
                                                                                                                                 TYPE OF PRIORITY
                                                        C   Husband, Wife, Joint, or Community                      C    U   D
            CREDITOR'S NAME,                            O                                                           O    N   I                      AMOUNT NOT
                                                        D                                                           N    L   S                      ENTITLED TO
          AND MAILING ADDRESS                           E   H         DATE CLAIM WAS INCURRED                       T    I   P      AMOUNT          PRIORITY, IF ANY
           INCLUDING ZIP CODE,                          B   W
                                                                    AND CONSIDERATION FOR CLAIM                     I    Q   U
                                                                                                                                    OF CLAIM
          AND ACCOUNT NUMBER                            T   J                                                       N    U   T                                AMOUNT
                                                        O                                                           G    I   E                             ENTITLED TO
             (See instructions.)                        R   C                                                       E    D   D
                                                                                                                    N    A
                                                                                                                                                              PRIORITY
                                                                                                                    T    T
Account No.                                                     Estimated Taxes                                          E
                                                                                                                         D

Kansas Department of Revenue
915 SW Harrison St.                                                                                                                                 0.00
Topeka, KS 66699
                                                            -                                                            X

                                                                                                                                          100.00               100.00
Account No.                                                     Estimated Taxes

Kentucky Department of Revenue
501 High St                                                                                                                                         0.00
Frankfort, KY 40620
                                                            -                                                            X

                                                                                                                                          100.00               100.00
Account No.                                                     Estimated Taxes

Louisiana Dept. of Revenue
617 North Third St.                                                                                                                                 0.00
Baton Rouge, LA 70802
                                                            -                                                            X

                                                                                                                                          100.00               100.00
Account No.                                                     Estimated Taxes

Michigan Dept. of Revenue
430 West Allegan St.                                                                                                                                0.00
Lansing, MI 48922
                                                            -                                                            X

                                                                                                                                          100.00               100.00
Account No.                                                     Estimated Taxes

Missouri Dept. of Revenue
Harry S Truman Office                                                                                                                               0.00
301 West High St.
                                                            -                                                            X
Jefferson City, MO 65101

                                                                                                                                          100.00               100.00
       2
Sheet _____    4
            of _____  continuation sheets attached to                                                            Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                 (Total of this page)              500.00               500.00




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  In re         Orion Tecnology, Inc.                                                                                   Case No.
                                                                                                           ,
                                                                                             Debtor

                   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                 (Continuation Sheet)
                                                                                                                    Taxes and Certain Other Debts
                                                                                                                     Owed to Governmental Units
                                                                                                                                 TYPE OF PRIORITY
                                                        C   Husband, Wife, Joint, or Community                      C    U   D
            CREDITOR'S NAME,                            O                                                           O    N   I                      AMOUNT NOT
                                                        D                                                           N    L   S                      ENTITLED TO
          AND MAILING ADDRESS                           E   H         DATE CLAIM WAS INCURRED                       T    I   P      AMOUNT          PRIORITY, IF ANY
           INCLUDING ZIP CODE,                          B   W
                                                                    AND CONSIDERATION FOR CLAIM                     I    Q   U
                                                                                                                                    OF CLAIM
          AND ACCOUNT NUMBER                            T   J                                                       N    U   T                                AMOUNT
                                                        O                                                           G    I   E                             ENTITLED TO
             (See instructions.)                        R   C                                                       E    D   D
                                                                                                                    N    A
                                                                                                                                                              PRIORITY
                                                                                                                    T    T
Account No.                                                     Estimated Taxes                                          E
                                                                                                                         D

New York Dept. of Revenue
Building 9, Campus Access Rd.                                                                                                                       0.00
Albany, NY 12227
                                                            -                                                            X

                                                                                                                                          100.00               100.00
Account No.                                                     Estimated Taxes

North Carolina Dept. of Revenue
P.O. Box 25000                                                                                                                                      0.00
Raleigh, NC 27640
                                                            -                                                            X

                                                                                                                                          100.00               100.00
Account No.                                                     Estimated Taxes

Ohio Department of Revenue
P.O. Box 530                                                                                                                                        0.00
Columbus, OH 43216
                                                            -                                                            X

                                                                                                                                          100.00               100.00
Account No.                                                     Estimated Taxes

Oklahoma Dept. of Revenue
P.O. Box 26890                                                                                                                                      0.00
Oklahoma City, OK 73126
                                                            -                                                            X

                                                                                                                                          100.00               100.00
Account No.                                                     Estimated Taxes

South Carolina Dept. of Revenue
301 Gervais St.                                                                                                                                     0.00
Columbia, SC 29214
                                                            -                                                            X

                                                                                                                                          100.00               100.00
       3
Sheet _____    4
            of _____  continuation sheets attached to                                                            Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                 (Total of this page)              500.00               500.00




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  In re         Orion Tecnology, Inc.                                                                                    Case No.
                                                                                                            ,
                                                                                             Debtor

                   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                 (Continuation Sheet)
                                                                                                                     Taxes and Certain Other Debts
                                                                                                                      Owed to Governmental Units
                                                                                                                                  TYPE OF PRIORITY
                                                        C   Husband, Wife, Joint, or Community                       C    U   D
            CREDITOR'S NAME,                            O                                                            O    N   I                      AMOUNT NOT
                                                        D                                                            N    L   S                      ENTITLED TO
          AND MAILING ADDRESS                           E   H         DATE CLAIM WAS INCURRED                        T    I   P      AMOUNT          PRIORITY, IF ANY
           INCLUDING ZIP CODE,                          B   W
                                                                    AND CONSIDERATION FOR CLAIM                      I    Q   U
                                                                                                                                     OF CLAIM
          AND ACCOUNT NUMBER                            T   J                                                        N    U   T                                AMOUNT
                                                        O                                                            G    I   E                             ENTITLED TO
             (See instructions.)                        R   C                                                        E    D   D
                                                                                                                     N    A
                                                                                                                                                               PRIORITY
                                                                                                                     T    T
Account No.                                                     Estimated Taxes                                           E
                                                                                                                          D

Tennessee Dept. of Revenue
500 Deaderick St. Andrew Jackson                                                                                                                     0.00
Bldg.
                                                            -                                                             X
Nashville, TN 37242

                                                                                                                                           100.00               100.00
Account No.                                                     Estimated Taxes

Texas Department of Revenue
P.O. Box 13528 Capitol Station                                                                                                                       0.00
Austin, TX 78711
                                                            -                                                             X

                                                                                                                                           100.00               100.00
Account No.




Account No.




Account No.




       4
Sheet _____    4
            of _____  continuation sheets attached to                                                             Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                  (Total of this page)              200.00               200.00
                                                                                                                     Total                           0.00
                                                                                           (Report on Summary of Schedules)              1,700.00             1,700.00


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  In re         Orion Tecnology, Inc.                                                                                    Case No.
                                                                                                               ,
                                                                                             Debtor


               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                     C    Husband, Wife, Joint, or Community                                C   U   D
                  CREDITOR'S NAME,                                   O                                                                      O   N   I
                  MAILING ADDRESS                                    D    H                                                                 N   L   S
                INCLUDING ZIP CODE,                                  E                DATE CLAIM WAS INCURRED AND                           T   I   P
                                                                          W
               AND ACCOUNT NUMBER
                                                                     B              CONSIDERATION FOR CLAIM. IF CLAIM                       I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                     T    J                                                                 N   U   T
                                                                     O                IS SUBJECT TO SETOFF, SO STATE.                       G   I   E
                 (See instructions above.)                           R
                                                                          C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No.                                                                   Unsecured                                                     T   T
                                                                                                                                                E
                                                                                                                                                D

Aerotek Professional
3689 Collection Center Drive                                              -
Chicago, IL 60693

                                                                                                                                                                      7,850.00
Account No.                                                                   Unsecured

Alaska Structures
9024 Vanguard Drive,Suite 101                                             -
Anchorage, AK 99507

                                                                                                                                                                   251,464.00
Account No. xxxx-xxxxxx-x1003

American Express
PO Box 650448                                                             -
Dallas, TX 75265

                                                                                                                                                                     18,756.18
Account No. x2523

Ametek
PO Box 8500                                                               -
Philadelphia, PA 19178

                                                                                                                                                                     40,634.00

                                                                                                                                        Subtotal
 9
_____ continuation sheets attached                                                                                                                                 318,704.18
                                                                                                                              (Total of this page)




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  In re         Orion Tecnology, Inc.                                                                              Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. #Orion Technology Inc.                                                                                                    E
                                                                                                                                      D

Anglin,Reichmann,Snellgrove &
Armstrong                                                                 -
305 Quality Circle
Huntsville, AL 35806
                                                                                                                                                         58,440.85
Account No.                                                                   Unsecured

BBS Technology & Solutions, LLC
2704 Arbor Oak Drive, SE                                                  -
Owens Cross Roads, AL 35763

                                                                                                                                                          6,000.00
Account No. xx1331

Beason & Nalley, Inc
101 Monroe Street                                                         -
Huntsville, AL 35801

                                                                                                                                                          1,712.82
Account No. xxxx xxxxx x0175

Blue Cross Blue Shield
PO Box 29330                                                              -
Honolulu, HI 96820

                                                                                                                                                          2,099.00
Account No. 404-C

BP II Sample Properties
PO Box 264                                                                -
Huntsville, AL 35804

                                                                                                                                                          1,485.00

           1
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                         69,737.67
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Orion Tecnology, Inc.                                                                              Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xx-xxxxx0173                                                                                                              E
                                                                                                                                      D

Career Builder
200 N. LaSalle St., Suite 1100                                            -
Chicago, IL 60601

                                                                                                                                                            419.00
Account No. OTI

Caston & Long
1101 19th Ave.                                                            -
Birmingham, AL 35215

                                                                                                                                                         16,808.00
Account No.

Chamber of Commerce
225 ChurchStreet                                                          -
Huntsville, AL 35801

                                                                                                                                                          1,687.50
Account No. Orion Technology Inc.                                             Unsecured

Cohen Mohr LLP
1055 Thomas Jefferson St, NW Suite                                        -
504
Washington, DC 20007
                                                                                                                                                         21,466.81
Account No. xx6956                                                            Unsecured

COMPBENEFITS
PO Box 219051                                                             -
Kansas City, MO 64121

                                                                                                                                                            359.84

           2
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                         40,741.15
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Orion Tecnology, Inc.                                                                              Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxx5473                                                          Unsecured                                               E
                                                                                                                                      D

Deltacom
PO Box 2252                                                               -
Birmingham, AL 35246

                                                                                                                                                          3,589.34
Account No.

Deltek Systems, Inc.
PO Box 2252                                                               -
Birmingham, AL 35246

                                                                                                                                                          3,435.04
Account No. xxxxxx-xx-x-xxxx-0N01                                             Unsecured

Deployed Resources
1729 North George Street                                                  -
Rome, NY 13442

                                                                                                                                                       207,880.00
Account No.                                                                   Unsecured

Donna Shands
1220 Jardin Drive                                                         -
Naples, FL 34104

                                                                                                                                                       322,279.75
Account No. xxxxx1634                                                         Unsecured

Dynetics
4900                                                                      -
Bradford Dr.
Huntsville, AL 35805
                                                                                                                                                            192.85

           3
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                       537,376.98
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Orion Tecnology, Inc.                                                                              Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxx-xx-x-0001                                                  Unsecured                                               E
                                                                                                                                      D

Federal Staffing Resources, LLC
716 Giddings Ave. Ste 42                                                  -
Annapolis, MD 21401

                                                                                                                                                         24,810.00
Account No.                                                                   Unsecured

FEDEX
PO Box 94515                                                              -
Palatine, IL 60094

                                                                                                                                                            132.61
Account No. xxx4915                                                           Unsecured

Flat Iron Capital
1700 Lincoln Street                                                       -
Denver, CO 80203

                                                                                                                                                          9,904.00
Account No.                                                                   Unsecured

Furniture
2979 West Montsague Ave.                                                  -
North Charleston, SC 29418

                                                                                                                                                          1,391.38
Account No. xxxxxx-xx-xxxxx-xxxGS-04                                          Unsecured

General Logistics
326 Cloudes Mill Dr.                                                      -
Alexandria, VA 22304

                                                                                                                                                       410,347.71

           4
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                       446,585.70
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Orion Tecnology, Inc.                                                                              Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
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                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. x1620                                                             Unsecured                                               E
                                                                                                                                      D

Hartford Life Insurance
PO Box 660916                                                             -
Dallas, TX 75266

                                                                                                                                                          1,056.00
Account No.                                                                   Unsecured

Humana Dental
PO Box 14611                                                              -
Lexington, KY 40512

                                                                                                                                                            384.84
Account No. xx0811                                                            Unsecured

Jackson Lewis, LLP
PO Box 416019                                                             -
Boston, MA 02241

                                                                                                                                                          1,344.15
Account No. xxxx7230                                                          Unsecured

Job Target
225 State Street, Suite 300                                               -
New London, CT 06320

                                                                                                                                                            250.00
Account No. xx: xxx-xxxx3-SEW

Lloyd,Gray,Whitehead & Monroe, P.C.
2501                                                                      -
20th Place South, Ste. 300
Birmingham, AL 35223
                                                                                                                                                         14,278.42

           5
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                         17,313.41
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Orion Tecnology, Inc.                                                                              Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
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                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No.                                                                                                                           E
                                                                                                                                      D

LTS Ft. Sill Combat LS
305 Church St Suite 715                                                   -
Huntsville, AL 35801

                                                                                                                                                          8,783.25
Account No. xxxxxxx8895                                                       Unsecured

Monster Inc.
PO Box 90364                                                              -
Chicago, IL 60696

                                                                                                                                                            385.00
Account No.

ND5
                                                                          -



                                                                                                                                                         78,838.59
Account No. xxxx-xxxxxx7779                                                   Unsecured

Occupational Health Center
PO Box 9005                                                               -
Addison, TX 75001

                                                                                                                                                            932.80
Account No. xxxx4106                                                          Unsecured

Office Depot
PO Box 630813                                                             -
Cincinnati, OH 45263

                                                                                                                                                            376.66

           6
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                         89,316.30
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Orion Tecnology, Inc.                                                                              Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xx0987                                                            Unsecured                                               E
                                                                                                                                      D

RJ Young
PO Box 41668                                                              -
Nashville, TN 37204

                                                                                                                                                          2,016.25
Account No. xxxxxx5744                                                        Unsecured

Safety Kleen
PO Box 650509                                                             -
Dallas, TX 75265

                                                                                                                                                            773.81
Account No. 9455

Sandhills Utility
PO Boxz 72858                                                             -
Fort Bragg, NC 28307

                                                                                                                                                          5,307.61
Account No.                                                                   Unsecured

Sirote & Permutt
PO Box 55509                                                              -
Birmingham, AL 35255

                                                                                                                                                          4,430.44
Account No.                                                                   Mark Lumer

Sirote & Permutt
PO Box 55509                                                              -
Birmingham, AL 35255

                                                                                                                                                          6,000.00

           7
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                         18,528.11
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Orion Tecnology, Inc.                                                                              Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxx5784                                                         Unsecured                                               E
                                                                                                                                      D

Sprint
PO Box 541023                                                             -
Los Angeles, CA 90054

                                                                                                                                                            168.56
Account No. xxxxx9390                                                         Unsecured

T-Mobile
P.O.Box 742596                                                            -
Cincinnati, OH 45274

                                                                                                                                                          2,400.00
Account No. xxxxxxxxx1232                                                     Unsecured

The Zenith
4415 Collections Center Drive                                             -
Chicago, IL 60693

                                                                                                                                                         46,802.00
Account No. Orion Technology Inc.                                             Unsecured

Trustaff
4270 Glendale-Milford Road                                                -
Cincinnati, OH 45242

                                                                                                                                                       163,086.47
Account No. Earl Hubbard Orion Technology                                     Unsecured

Venable LLP
PO Box 62727                                                              -
Baltimore, MD 21264

                                                                                                                                                       131,896.90

           8
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                       344,353.93
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Orion Tecnology, Inc.                                                                                    Case No.
                                                                                                                ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                             C   U   D
                  CREDITOR'S NAME,                                   O                                                                   O   N   I
                  MAILING ADDRESS                                    D    H                                                              N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                     B                                                                   I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                 (See instructions above.)                           R                                                                   E   D   D
                                                                                                                                         N   A
                                                                                                                                         T   T
Account No. xxxxx8285                                                         Unsecured                                                      E
                                                                                                                                             D

Verizon Wireless
PO Box 660108                                                             -
Dallas, TX 75266

                                                                                                                                                                   239.85
Account No. xxxx-xxxx-xxxx-5614                                               Unsecured

Wells Fargo
Business Direct Operations                                                -
PO Box 348750
Sacramento, CA 95834
                                                                                                                                                                20,717.63
Account No. xxxxx-0002

Wilmer & Lee
PO Box 2168                                                               -
Huntsville, AL 35804

                                                                                                                                                                30,670.36
Account No.




Account No.




           9
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                                Subtotal
                                                                                                                                                                51,627.84
Creditors Holding Unsecured Nonpriority Claims                                                                               (Total of this page)
                                                                                                                                         Total
                                                                                                               (Report on Summary of Schedules)             1,934,285.27



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 In re             Orion Tecnology, Inc.                                                                       Case No.
                                                                                                     ,
                                                                                   Debtor

                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
              Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
              of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
              complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
              state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
              disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                 Check this box if debtor has no executory contracts or unexpired leases.
                                                                                     Description of Contract or Lease and Nature of Debtor's Interest.
                  Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                      of Other Parties to Lease or Contract                                 State contract number of any government contract.




      0
                continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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 In re          Orion Tecnology, Inc.                                                                   Case No.
                                                                                              ,
                                                                               Debtor

                                                              SCHEDULE H - CODEBTORS
        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
    by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
    commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
    Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
    any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
    by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
    state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
    disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
        Check this box if debtor has no codebtors.
                 NAME AND ADDRESS OF CODEBTOR                                     NAME AND ADDRESS OF CREDITOR




      0
              continuation sheets attached to Schedule of Codebtors
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B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                            United States Bankruptcy Court
                                                                  Northern District of Alabama
 In re      Orion Tecnology, Inc.                                                                     Case No.
                                                                                   Debtor(s)          Chapter    11




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

               DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP




                      I, the President / CEO of the corporation named as debtor in this case, declare under penalty of perjury that
            I have read the foregoing summary and schedules, consisting of 25 sheets, and that they are true and correct to
            the best of my knowledge, information, and belief.




 Date September 20, 2012                                               Signature   /s/ Earl Hubbard
                                                                                   Earl Hubbard
                                                                                   President / CEO

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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                                                          United States Bankruptcy Court
                                                                Northern District of Alabama
 In re       Orion Tecnology, Inc.                                                                             Case No.
                                                                                  Debtor(s)                    Chapter        11

                                                   STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                              DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                            SOURCE
                          $655,671.00                       2010
                          $0.00                             2011- Not yet filed

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                            SOURCE




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              3. Payments to creditors

     None     Complete a. or b., as appropriate, and c.

              a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
              and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
              of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
              creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
              nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
              either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS                                                    DATES OF                                                       AMOUNT STILL
       OF CREDITOR                                                      PAYMENTS                             AMOUNT PAID                 OWING

     None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
              immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
              transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
              account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
              budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
              transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                                                                                  AMOUNT
                                                                        DATES OF                                   PAID OR
                                                                        PAYMENTS/                                VALUE OF              AMOUNT STILL
    NAME AND ADDRESS OF CREDITOR                                        TRANSFERS                               TRANSFERS                OWING

     None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
              creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS OF CREDITOR AND                                                                                                   AMOUNT STILL
         RELATIONSHIP TO DEBTOR                                         DATE OF PAYMENT                      AMOUNT PAID                 OWING

              4. Suits and administrative proceedings, executions, garnishments and attachments

     None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
              this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
              whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    CAPTION OF SUIT                                                    NATURE OF         COURT OR AGENCY                                 STATUS OR
    AND CASE NUMBER                                                    PROCEEDING        AND LOCATION                                    DISPOSITION

     None     b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
              preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
              property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

    NAME AND ADDRESS OF PERSON FOR WHOSE                                                    DESCRIPTION AND VALUE OF
       BENEFIT PROPERTY WAS SEIZED                                     DATE OF SEIZURE             PROPERTY

              5. Repossessions, foreclosures and returns

     None     List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
              returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
              or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
              spouses are separated and a joint petition is not filed.)

                                                                 DATE OF REPOSSESSION,
    NAME AND ADDRESS OF                                            FORECLOSURE SALE,           DESCRIPTION AND VALUE OF
     CREDITOR OR SELLER                                           TRANSFER OR RETURN                   PROPERTY


*   Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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             6. Assignments and receiverships

   None      a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
             this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
             joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                               DATE OF
NAME AND ADDRESS OF ASSIGNEE                                   ASSIGNMENT                     TERMS OF ASSIGNMENT OR SETTLEMENT

   None      b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
             property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                          NAME AND LOCATION
NAME AND ADDRESS                                               OF COURT                        DATE OF            DESCRIPTION AND VALUE OF
  OF CUSTODIAN                                            CASE TITLE & NUMBER                  ORDER                    PROPERTY

             7. Gifts

   None      List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
             and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
             aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
             either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

  NAME AND ADDRESS OF                                     RELATIONSHIP TO                                            DESCRIPTION AND
PERSON OR ORGANIZATION                                     DEBTOR, IF ANY                     DATE OF GIFT            VALUE OF GIFT

             8. Losses

   None      List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
             since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                          DESCRIPTION OF CIRCUMSTANCES AND, IF
DESCRIPTION AND VALUE                                                     LOSS WAS COVERED IN WHOLE OR IN PART
    OF PROPERTY                                                              BY INSURANCE, GIVE PARTICULARS                    DATE OF LOSS

             9. Payments related to debt counseling or bankruptcy

   None      List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
             concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
             preceding the commencement of this case.

                                                                         DATE OF PAYMENT,                                AMOUNT OF MONEY
NAME AND ADDRESS                                                       NAME OF PAYOR IF OTHER                        OR DESCRIPTION AND VALUE
   OF PAYEE                                                                THAN DEBTOR                                     OF PROPERTY

             10. Other transfers

   None      a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
             transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
             filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE,                                                               DESCRIBE PROPERTY TRANSFERRED
    RELATIONSHIP TO DEBTOR                                             DATE                          AND VALUE RECEIVED




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   None      b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
             trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER                                                                         AMOUNT OF MONEY OR DESCRIPTION AND
DEVICE                                                                 DATE(S) OF              VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                       TRANSFER(S)             IN PROPERTY

             11. Closed financial accounts

   None      List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
             otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
             financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
             cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
             include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
             unless the spouses are separated and a joint petition is not filed.)

                                                                         TYPE OF ACCOUNT, LAST FOUR
                                                                         DIGITS OF ACCOUNT NUMBER,                    AMOUNT AND DATE OF SALE
NAME AND ADDRESS OF INSTITUTION                                         AND AMOUNT OF FINAL BALANCE                          OR CLOSING

             12. Safe deposit boxes

   None      List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
             immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
             depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                      NAMES AND ADDRESSES
NAME AND ADDRESS OF BANK                              OF THOSE WITH ACCESS                      DESCRIPTION                   DATE OF TRANSFER OR
 OR OTHER DEPOSITORY                                  TO BOX OR DEPOSITORY                      OF CONTENTS                    SURRENDER, IF ANY

             13. Setoffs

   None      List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR                                           DATE OF SETOFF                                 AMOUNT OF SETOFF

             14. Property held for another person

   None      List all property owned by another person that the debtor holds or controls.


NAME AND ADDRESS OF OWNER                             DESCRIPTION AND VALUE OF PROPERTY                  LOCATION OF PROPERTY

             15. Prior address of debtor

   None      If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
             occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
             address of either spouse.

ADDRESS                                                                NAME USED                                      DATES OF OCCUPANCY

             16. Spouses and Former Spouses

   None      If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
             Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
             commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
             the community property state.

NAME



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             17. Environmental Information.

             For the purpose of this question, the following definitions apply:

             "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
             or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
             statutes or regulations regulating the cleanup of these substances, wastes, or material.

                   "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                   owned or operated by the debtor, including, but not limited to, disposal sites.

                   "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                   pollutant, or contaminant or similar term under an Environmental Law

   None      a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
             or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
             the Environmental Law:

                                                      NAME AND ADDRESS OF                       DATE OF                       ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                         NOTICE                        LAW

   None      b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
             Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                      NAME AND ADDRESS OF                       DATE OF                       ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                         NOTICE                        LAW

   None      c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
             the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
             docket number.

NAME AND ADDRESS OF
GOVERNMENTAL UNIT                                                      DOCKET NUMBER                                  STATUS OR DISPOSITION

             18 . Nature, location and name of business

   None      a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
             partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
             immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
             within six years immediately preceding the commencement of this case.

             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
             years immediately preceding the commencement of this case.

             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
             years immediately preceding the commencement of this case.

                                LAST FOUR DIGITS OF
                                SOCIAL-SECURITY OR
                                OTHER INDIVIDUAL
                                TAXPAYER-I.D. NO.                                                                                BEGINNING AND
NAME                            (ITIN)/ COMPLETE EIN             ADDRESS                        NATURE OF BUSINESS               ENDING DATES

   None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


NAME                                                                   ADDRESS




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    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

             19. Books, records and financial statements

   None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
             supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS                                                                                        DATES SERVICES RENDERED
Horace Franklin                                                                                         05/01/12 - 05/31/12
7000 Quest Circle
Huntsville, AL 35806

   None      b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
             of account and records, or prepared a financial statement of the debtor.

NAME                                            ADDRESS                                                 DATES SERVICES RENDERED
Anglin,Reichmann,Snellgrove &                   305 Quality Circle
Armstrong                                       Huntsville, AL 35806

   None      c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
             of the debtor. If any of the books of account and records are not available, explain.

NAME                                                                                 ADDRESS

   None      d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
             issued by the debtor within two years immediately preceding the commencement of this case.

NAME AND ADDRESS                                                                              DATE ISSUED
Wellsfargo Finance
2010 Corporate Ridge
Suit 910
Mc Lean, VA 22102

             20. Inventories

   None      a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
             and the dollar amount and basis of each inventory.

                                                                                                        DOLLAR AMOUNT OF INVENTORY
DATE OF INVENTORY                               INVENTORY SUPERVISOR                                    (Specify cost, market or other basis)

   None      b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                         NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
DATE OF INVENTORY                                                        RECORDS




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             21 . Current Partners, Officers, Directors and Shareholders

   None      a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


NAME AND ADDRESS                                                       NATURE OF INTEREST                            PERCENTAGE OF INTEREST
Ron Hale                                                               Original Investment - 1,000,000.00            40%
8954 Brigadoon Drive
Athens, AL 35611
Earl Hubbard                                                                                                         50%
103 Bluff Springs
Madison, AL 35758
Daniel Hubbard                                                         Investment $100K - ROI - $833.33/MO           4%
PO Box 92154
Atlanta, GA 30314
Douglas Love                                                           Investment $100K - ROI - $833.33/MO           4%
1850 Lancaster Drive
Conyers, GA 30013
Barbara Webster                                                        Investment $50K - ROI - $208.33/MO - 1%       2%
4989 Seven Pine Circle
Huntsville, AL 35816

   None      b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
             controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                         NATURE AND PERCENTAGE
NAME AND ADDRESS                                                       TITLE                             OF STOCK OWNERSHIP
Earl Hubbard                                                                                             100%
103 Bluff Springs
Madison, AL 35758

             22 . Former partners, officers, directors and shareholders

   None      a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
             commencement of this case.

NAME                                                      ADDRESS                                                  DATE OF WITHDRAWAL

   None      b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
             immediately preceding the commencement of this case.

NAME AND ADDRESS                                                       TITLE                             DATE OF TERMINATION

             23 . Withdrawals from a partnership or distributions by a corporation

   None      If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
             in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
             commencement of this case.

NAME & ADDRESS                                                                                                       AMOUNT OF MONEY
OF RECIPIENT,                                                          DATE AND PURPOSE                              OR DESCRIPTION AND
RELATIONSHIP TO DEBTOR                                                 OF WITHDRAWAL                                 VALUE OF PROPERTY

             24. Tax Consolidation Group.

   None      If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
             group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
             of the case.

NAME OF PARENT CORPORATION                                                                          TAXPAYER IDENTIFICATION NUMBER (EIN)


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             25. Pension Funds.

   None      If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
             employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

NAME OF PENSION FUND                                                                                    TAXPAYER IDENTIFICATION NUMBER (EIN)


          DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct to the best of my knowledge, information and belief.


Date September 20, 2012                                                Signature   /s/ Earl Hubbard
                                                                                   Earl Hubbard
                                                                                   President / CEO

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]

                 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 10,000.00
             Prior to the filing of this statement I have received                                        $                  3,813.50
             Balance Due                                                                                  $                  6,186.50

2.    $     1,046.00       of the filing fee has been paid.

3.    The source of the compensation paid to me was:
                  Debtor              Other (specify):

4.    The source of compensation to be paid to me is:
                  Debtor              Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.    Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
      e.    [Other provisions as needed]
                 $10,000.00 is a retainer against court-approved hourly work to be done in this case by debtors counsel.

7.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                       CERTIFICATION

      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

Dated:       September 20, 2012                                               /s/ Tazewell T. Shepard
                                                                              Tazewell T. Shepard
                                                                              Sparkman, Shepard & Morris, P.C.
                                                                              P.O. Box 19045
                                                                              Huntsville, AL 35804
                                                                              256-512-9924 Fax: 256-512-9837
                                                                              taze@tshepard.com




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                                                                 Northern District of Alabama
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                                                                                                  ,
                                                                                   Debtor
                                                                                                             Chapter                      11




                                                   LIST OF EQUITY SECURITY HOLDERS
    Following is the list of the Debtor's equity security holders which is prepared in accordance with Rule 1007(a)(3) for filing in this chapter 11 case.


      Name and last known address                                                Security               Number              Kind of
      or place of business of holder                                              Class               of Securities         Interest

     Barbara Webster                                                             Common                                  Shares held by
     4989 Seven Pine Circle                                                                                              lienholder/credito
     Huntsville, AL 35816                                                                                                r

     Daniel Hubbard                                                              Common                                  Shares held by
     PO Box 92154                                                                                                        lienholder/credito
     Atlanta, GA 30314                                                                                                   r

     Douglas Love                                                                Common                                  Shares held by
     1850 Lancaster Drive                                                                                                lienholder/credito
     Conyers, GA 30013                                                                                                   r

     Earl Hubbard                                                                Common
     103 Bluff Springs
     Madison, AL 35758

     Ron Hale                                                                    Common                                  Shares held by
     8954 Brigadoon Drive                                                                                                lienholder/credito
     Athens, AL 35611                                                                                                    r




     DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP
                  I, the President / CEO of the corporation named as the debtor in this case, declare under penalty of perjury that I have
             read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.


    Date        September 20, 2012                                                   Signature /s/ Earl Hubbard
                                                                                             Earl Hubbard
                                                                                             President / CEO


             Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                         18 U.S.C §§ 152 and 3571.




     0       continuation sheets attached to List of Equity Security Holders

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                                           VERIFICATION OF CREDITOR MATRIX


I, the President / CEO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




Date:       September 20, 2012                                         /s/ Earl Hubbard
                                                                       Earl Hubbard/President / CEO
                                                                       Signer/Title




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Barbara Webster                     Hawaii Dept. of Revenue               Oklahoma Dept. of Revenue
4989 Seven Pine Circle              P.O. Box 259                          P.O. Box 26890
Huntsville AL 35816                 Honolulu HI 96809                     Oklahoma City OK 73126




Daniel Hubbard                      Kansas Department of Revenue          South Carolina Dept. of Revenue
PO Box 92154                        915 SW Harrison St.                   301 Gervais St.
Atlanta GA 30314                    Topeka KS 66699                       Columbia SC 29214




Douglas Love                        Kentucky Department of Revenue        Tennessee Dept. of Revenue
1850 Lancaster Drive                501 High St                           500 Deaderick St. Andrew JacksonB
Conyers GA 30013                    Frankfort KY 40620                    Nashville TN 37242




Facteon, Inc.                       Louisiana Dept. of Revenue            Texas Department of Revenue
700 Galleria Pkwy.                  617 North Third St.                   P.O. Box 13528 Capitol Station
Suite 4440                          Baton Rouge LA 70802                  Austin TX 78711
Atlanta GA 30339



Ron Hale                            Michigan Dept. of Revenue             Aerotek Professional
8954 Brigadoon Drive                430 West Allegan St.                  3689 Collection Center Drive
Athens AL 35611                     Lansing MI 48922                      Chicago IL 60693




Alabama Dept. of Revenue            Missouri Dept. of Revenue             Alaska Structures
50 North Ripley Street              Harry S Truman Office                 9024 Vanguard Drive,Suite 101
Montgomery AL 36132                 301 West High St.                     Anchorage AK 99507
                                    Jefferson City MO 65101



Arizona Department of Revenue       New York Dept. of Revenue             American Express
1600 W. Monre                       Building 9, Campus Access Rd.         PO Box 650448
Phoenix AZ 85007                    Albany NY 12227                       Dallas TX 75265




Colorado Dept. of Revenue           North Carolina Dept. of Revenue       Ametek
1325 Sherman St.                    P.O. Box 25000                        PO Box 8500
Denver CO 80261                     Raleigh NC 27640                      Philadelphia PA 19178




Georgia Department of Revenue       Ohio Department of Revenue            Anglin,Reichmann,Snellgrove & Arm
4125 Welcome All Road               P.O. Box 530                          305 Quality Circle
Atlanta GA 30349                    Columbus OH 43216                     Huntsville AL 35806



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BBS Technology & Solutions, LLC        Deltacom                             General Logistics
2704 Arbor Oak Drive, SE               PO Box 2252                          326 Cloudes Mill Dr.
Owens Cross Roads AL 35763             Birmingham AL 35246                  Alexandria VA 22304




Beason & Nalley, Inc                   Deltek Systems, Inc.                 Hartford Life Insurance
101 Monroe Street                      PO Box 2252                          PO Box 660916
Huntsville AL 35801                    Birmingham AL 35246                  Dallas TX 75266




Blue Cross Blue Shield                 Deployed Resources                   Humana Dental
PO Box 29330                           1729 North George Street             PO Box 14611
Honolulu HI 96820                      Rome NY 13442                        Lexington KY 40512




BP II Sample Properties                Donna Shands                         Jackson Lewis, LLP
PO Box 264                             1220 Jardin Drive                    PO Box 416019
Huntsville AL 35804                    Naples FL 34104                      Boston MA 02241




Career Builder                         Dynetics                             Job Target
200 N. LaSalle St., Suite 1100         4900                                 225 State Street, Suite 300
Chicago IL 60601                       Bradford Dr.                         New London CT 06320
                                       Huntsville AL 35805



Caston & Long                          Federal Staffing Resources, LLC      Lloyd,Gray,Whitehead & Monroe, P
1101 19th Ave.                         716 Giddings Ave. Ste 42             2501
Birmingham AL 35215                    Annapolis MD 21401                   20th Place South, Ste. 300
                                                                            Birmingham AL 35223



Chamber of Commerce                    FEDEX                                LTS Ft. Sill Combat LS
225 ChurchStreet                       PO Box 94515                         305 Church St Suite 715
Huntsville AL 35801                    Palatine IL 60094                    Huntsville AL 35801




Cohen Mohr LLP                         Flat Iron Capital                    Monster Inc.
1055 Thomas Jefferson St, NW Suite 504 1700 Lincoln Street                  PO Box 90364
Washington DC 20007                    Denver CO 80203                      Chicago IL 60696




COMPBENEFITS                           Furniture                            ND5
PO Box 219051                          2979 West Montsague Ave.
Kansas City MO 64121                   North Charleston SC 29418



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Occupational Health Center          Trustaff                              Davis Hoyle
PO Box 9005                         4270 Glendale-Milford Road            P.O. Box 25000
Addison TX 75001                    Cincinnati OH 45242                   Raleigh NC 27640




Office Depot                        Venable LLP                           Deployed Resources
PO Box 630813                       PO Box 62727                          PO Box 430
Cincinnati OH 45263                 Baltimore MD 21264                    Rome NY 13440




RJ Young                            Verizon Wireless                      Fredrick Pablo
PO Box 41668                        PO Box 660108                         P.O. Box 259
Nashville TN 37204                  Dallas TX 75266                       Honolulu HI 96809




Safety Kleen                        Wells Fargo                           James F. Etter
PO Box 650509                       Business Direct Operations            301 Gervais St.
Dallas TX 75265                     PO Box 348750                         Columbia SC 29214
                                    Sacramento CA 95834



Sandhills Utility                   Wilmer & Lee                          John Green
PO Boxz 72858                       PO Box 2168                           1600 W. Monre
Fort Bragg NC 28307                 Huntsville AL 35804                   Phoenix AZ 85007




Sirote & Permutt                    Alana Barragan                        Joseph Testa
PO Box 55509                        Harry S Truman Office                 P.O. Box 530
Birmingham AL 35255                 301 West High St.                     Columbus OH 43216
                                    Jefferson City MO 65101



Sprint                              Andy Dillon                           Julie Magee
PO Box 541023                       430 West Allegan St.                  50 North Ripley Street
Los Angeles CA 90054                Lansing MI 48922                      Montgomery AL 36132




T-Mobile                            Barbara Brohl                         Nick Jordan
P.O.Box 742596                      1325 Sherman St.                      915 SW Harrison St.
Cincinnati OH 45274                 Denver CO 80261                       Topeka KS 66699




The Zenith                          Cynthia Bridges                       Richard Roberts
4415 Collections Center Drive       617 North Third St.                   500 Deaderick St. Andrew JacksonB
Chicago IL 60693                    Baton Rouge LA 70802                  Nashville TN 37242



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Sirote & Permutt
305 Church St. Ste. 800
Huntsville AL 35801




Susan Combs
P.O. Box 13528 Capitol Station
Austin TX 78711




Thomas H. Mattox
Building 9, Campus Access Rd.
Albany NY 12227




Thomas Kemp Jr.
P.O. Box 26890
Oklahoma City OK 73126




Thomas Miller
501 High St
Frankfort KY 40620




Venable LLP
8010 Tower sCresent Dr.Ste. 300
Tysons Corner VA 22182




Vicki Lambert
4125 Welcome All Road
Atlanta GA 30349




Wilmer & Lee
100 Washington St., Ste. 200
Huntsville AL 35804




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                                        CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification
or recusal, the undersigned counsel for Orion Tecnology, Inc. in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



   None [Check if applicable]




September 20, 2012                                                 /s/ Tazewell T. Shepard
Date                                                               Tazewell T. Shepard
                                                                   Signature of Attorney or Litigant
                                                                   Counsel for Orion Tecnology, Inc.
                                                                   Sparkman, Shepard & Morris, P.C.
                                                                   P.O. Box 19045
                                                                   Huntsville, AL 35804
                                                                   256-512-9924 Fax:256-512-9837
                                                                   taze@tshepard.com




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